       Case 3:24-cv-30017-MGM           Document 22        Filed 12/10/24      Page 1 of 2




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
                               WESTERN DIVISION


 REBECCA BLAKESLEY.,

                        Plaintiff,
 v.                                                      Civil Action No. 3:24-CV-20017-MGM

 COLLEEN MARCUS and
 JENNIFER MARCUS

                        Defendants.

                         MOTION TO WITHDRAW AS COUNSEL

       Now comes Patrick J. Dolan and moves to withdraw as counsel for the Plaintiff. As

grounds for this motion, Mr. Dolan states that his license to practice law has been suspended and

therefore withdrawal is mandatory.

       The Plaintiff is currently searching for new counsel and it is expected she will file a

motion to continue the hearing on the Defendants’ motion to dismiss, currently scheduled for

December 20, 2024, for an additional 30 days. Ms. Blakesley’s contact information is below:

       Rebecca Blakesley
       836 Southampton Road, Suite B #115
       Bernicia, CA 94510
       415-605-5760
       rebeccajblakesley@gmail.com


                                              /s/ Patrick J. Dolan___________
                                              Patrick J. Dolan, Esq., BBO 564250
                                              Cornell Dolan, P.C.
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                                              Boston, MA 02109
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                                                 1
       Case 3:24-cv-30017-MGM              Document 22        Filed 12/10/24       Page 2 of 2




                                   CERTIFICATE OF SERVICE

I certify that a true copy of the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF) on
December 10, 2024. A copy of this motion will also be sent to the Plaintiff.

                                                /s/ Patrick J. Dolan




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